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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                    *       MASTER DOCKET
                                                   *       NO. 10-MD-2179
                                                   *
“DEEPWATER HORIZON” in the                         *
GULF OF MEXICO, on                                 *
APRIL 20, 2010                                     *

THIS DOCUMENT RELATES TO NO. 11-02515

CONRAD CHARLES WIEGAND           * CIVIL ACTION NO: 11-02515
                                 *
VERSUS                           * SECTION: “J”
                                 *
UNITED STATES MARITIME SERVICES, * DIVISION: “1”
LLC and PARISH OF ST. BERNARD    *
                                 *
* * * * * * * * * * * * * * * * * * * * * * * * * * * * *


                                 NOTICE OF SUBMISSION

         PLEASE TAKE NOTICE that United States Maritime Services, Inc. (incorrectly

identified as United States Maritime Services, L.L.C.) shall bring on for submission its Motion

For Extension of Time to File Responsive Pleadings before the Honorable Sally Shushan, United

States District Court, Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana

70130 at 9:00 a.m. on the 18th day of January, 2012, or as soon thereafter as counsel may be

heard.

         Dated: December 30, 2011
   Case 2:10-md-02179-CJB-DPC Document 5039-3 Filed 12/30/11 Page 2 of 2




                                                    Respectfully submitted:


                                                   /s/ Allen J. Krouse, III_____________
                                                   Allen J. Krouse, III (#14426)
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                                                   Brandon K. Thibodeaux (#32725)
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                                                   ATTORNEYS FOR UNITED STATES
                                                   MARITIME SERVICES, INC.



                               CERTIFICATE OF SERVICE

         I hereby certify that the above and foregoing Motion for Extension of Time to File

Answer has been served on All Counsel by electronically uploading the same to Lexis Nexis

File & Serve in accordance with Pretrial Order No. 12, and that the foregoing was electronically

filed with the Clerk of Court of the United States District Court for the Eastern District of

Louisiana by using the CM/ECF System, which will send a notice of electronic filing in

accordance with the procedures established in MDL 2179, on this 30th day of December, 2011.

                                            s/ Allen J. Krouse, III              _




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